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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



        In re PVC Pipe Antitrust Litigation                Case No. 1:24-cv-07639

        This Document Relates to:                          Hon. LaShonda A. Hunt

        Non-Converter Seller Purchaser Class


    NON-CONVERTER SELLER PURCHASER CLASS PLAINTIFFS’ OPPOSED
   MOTION TO ENFORCE THE COURT’S LEADERSHIP AND CONSOLIDATION
  ORDERS (ECF NOS. 164 & 165) AND UNOPPOSED NOTICE OF RELATED CASE1

       On November 7, 2024, a Department of Justice criminal grand jury inquiry into price-fixing

in the PVC Pipe industry was publicly disclosed for the first time. The very next day, the Fegan

Scott firm filed Erie County Water Authority v. Atkore Inc., et al., No. 1:24-cv-11531 (N.D. Ill.)

(hereinafter, the “Fegan Scott Complaint”). The Fegan Scott Complaint, which purports to be on

behalf of private and public entities that provide drinking water and sewer services in the United

States, is a near-complete copy-paste replication of the original Bavolak complaint filed two and

half months ago by Co-Lead Class Counsel for the Non-Converter Seller Purchaser Class (ECF

No. 1). The entities that Fegan Scott purports to sue on behalf of, however, are already part of the

Non-Converter Seller Purchaser Class (“NCSP Class”). Indeed, named Plaintiffs City of Omaha

and Water District No. 1 of Johnson County (Kansas) are exactly the type of entities on whose

behalf the Fegan Scott Complaint purports to be filed.


   1
     Fegan Scott consents to the reassignment of the Fegan Scott Complaint to this Court. Fegan
Scott opposes the motion to enforce the Court’s leadership and consolidation orders (ECF Nos.
164 & 165). Defendants agree to the reassignment of the Erie County action to this Court pursuant
to Local Rule 40.4. Defendants do not contest any relief requested by Plaintiffs related to Plaintiffs’
leadership structure. In addition, because Defendants were not provided a copy of the motion
ahead of filing, Defendants reserve all rights to respond to the motion.
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          As described in further detail below, Beth Fegan, from the Fegan Scott firm, expressed to

Co-Lead Class Counsel her intention to tell the Court that there is a conflict in the NCSP Class and

that her proposed carve-out of a certain group of plaintiffs would address that conflict. Not only

does no such conflict presently exist, but Fegan Scott’s proposed carve-out would fail to “solve”

this hypothetical issue. The timing of the filing of the Fegan Scott Complaint, the lack of

independent investigation into the PVC Pipe industry by the Fegan Scott firm, and the Fegan

Scott’s firm’s ignorance of the make-up of the NCSP Class make it clear that Fegan Scott is

manufacturing a non-existent conflict in an attempt to carve out a piece of promising litigation for

itself.

          Given the lack of a conflict and the fact that the Court already appointed Co-Lead Class

Counsel for the NCSP Class (ECF Nos. 122 & 164), already consolidated all NCSP Class actions

(ECF No. 165), and Co-Lead Class Counsel already filed a consolidated complaint on October 30,

2024 (ECF No. 179) (the “NCSP Class Complaint”), Co-Lead Class Counsel respectfully requests

that the Court find the Fegan Scott Complaint related to the actions in In re PVC Pipe Antitrust

Litigation and that the Court enforce its leadership order and determine that the Fegan Scott

Complaint is subsumed by the October 30, 2024, NCSP Class Complaint (ECF No. 179).2




    2
     Plaintiffs recognize that the Court’s Amended Order Regarding Relatedness, Reassignment,
and Initial Case Management Deadlines (ECF No. 165) sets forth a procedure for filing notices
regarding relatedness and consolidation. See id. at ¶ 11. But, in light of the fact that Fegan Scott
already indicated that it would oppose consolidation, Plaintiffs are filing the instant motion in order
to more expeditiously advance this issue. After meeting and conferring regarding this motion,
Plaintiffs and Fegan Scott agreed to the following briefing schedule: opposition brief due
November 27, 2024, and reply brief due December 4, 2024. Fegan Scott agreed to a Notice of
Presentment date for this motion of November 19, 2024.


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       I.      BACKGROUND

       A. Relevant Case History and the Circumstances of Fegan Scott’s Complaint.
       Co-Lead Class Counsel have engaged in extensive investigation and litigation in the past

three months on behalf of the NCSP Class, including retaining and working with experts,

undertaking extensive factual investigation, appearing for two in-person hearings with the Court,

coordinating with all parties on consolidation and case deadlines, ensuring service of the

complaints, holding a Rule 26(f) conference, serving discovery, vetting potential named

representatives by numerous co-counsel firms, and conducting extensive investigation and factual

analysis. See, e.g., ECF Nos. 27 (Joint Stipulation of the Parties), 109 (Order regarding parties’

stipulation on relatedness, reassignment and initial case deadlines). As a result of this work, Co-

Lead Class Counsel filed the First Consolidated Class Action Complaint (i.e., the NCSP Class

Complaint) on behalf of a class of all purchasers of PVC Pipe through a non-converter seller on

October 30, 2024. ECF No. 179. Among the named representatives are the City of Omaha and

Water District No. 1 of Johnson County, Kansas, a municipality and a quasi-municipal agency,

respectively, that provide drinking water or sewage services to citizens in each of their

communities. NCSP Class Complaint ¶¶ 18, 21. The NCSP Class Complaint also specifically

alleges that three large PVC Pipe distributors, which constitute roughly half of the PVC Pipe

distribution market, are co-conspirators in the price-fixing conspiracy. Id. at ¶¶ 43-45, 165-176.

       Fegan Scott did not participate in this litigation, or any of the preparation leading up to it,

in any manner prior to November 8, 2024, the day after the Department of Justice’s criminal grand

jury investigation into PVC Pipe prices became public.3 This timing is notable because, as courts



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       Ottertail Corporation, November 7, 2024 Quarterly Report, page 17, available at
https://www.ottertail.com/investors/sec-filings/sec-filings-
details/default.aspx?FilingId=17949340.


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have recognized, cases not aided by a government investigation are inherently riskier. See, e.g., In

re Broiler Chicken Antitrust Litig., No. 16-cv-8637, 2024 WL 3292794, at *2 (N.D. Ill. July 3,

2024) (“Broilers”) (“Many courts, including this one, recognize that filing a complex antitrust

action without the benefit of a prior government investigation increases the amount of work

necessary to litigate the case and decreases the chance of success.”). Thus, for a firm to wait to file

until after a government investigation is announced—and here no less than a criminal grand jury

investigation that was announced—certainly raises an eyebrow.

       The Fegan Scott Complaint is a nearly complete copy-paste of the original Bavolak

complaint that Co-Lead Class Counsel Lockridge Grindal Nauen filed on August 23, 2024,

containing essentially only minor typographical changes, moving a few sentences between

paragraphs, deleting references to PVC electrical conduit and PVC plumbing pipe, and removing

three of the five Mitsubishi-Shin-Etsu Defendants. Clark Decl. ¶ 3.

       After the filing of the Fegan Scott Complaint on November 8, 2024, Co-Lead Class

Counsel Brian Clark spoke to Ms. Fegan on November 11, 2024. Clark Decl. ¶ 4. During that

conversation, Mr. Clark explained that the Court’s leadership and consolidation orders meant that

the Fegan Scott Complaint is essentially a nullity, as the class it purports to represent already has

Co-Lead Class Counsel appointed to represent its interests, a consolidated complaint filed on

October 30, 2024 that enumerates its claims, and already includes municipal entities already, such

as the City of Omaha and Water District No. 1 of Johnson County (Kansas). Id.

       Nevertheless, Ms. Fegan relayed her intention to seek appointment to lead a purported sub-

class of private and public municipal drinking water and sewer providers. Id. ¶ 5. Ms. Fegan noted

that such plaintiffs have been grouped together in unrelated non-antitrust litigation in the personal




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injury/mass tort context regarding per- and polyfluoroalkyl substances (“PFAS”), so-called

“forever chemicals.” Id. And in a later conversation on November 14, Ms. Fegan admitted that the

grouping together of the entities she seeks to represent was based on an Environmental Protection

Agency definition regarding water and sewer providers that happened to be used in PFAS litigation

(Id. ¶ 7)—a grouping that has nothing to do with PVC Pipe market realities.

       Ms. Fegan also pointed to a motion that her former firm filed in Broilers that suggested

conflicts within a class where one portion of the class resold the price-fixed product to the next

level of purchasers. Id. at ¶ 6; see Broilers, No. 16-cv-08637, ECF No. 218 (Nov. 30, 2016). Co-

Lead Class Counsel Mr. Clark and Karin Garvey had a further conversation with Ms. Fegan on

November 14, 2024, in which she maintained this position and declined to abide by the Court’s

prior orders regarding leadership. Clark Decl., ¶ 7. Therefore, it is clear to Co-Lead Class Counsel

that this issue must be promptly raised with and resolved by the Court to avoid any delay in the

efficient prosecution of this case.

       B. Public and Private Water and Sewer Providers Purchase PVC Pipe Either Directly
          (First Level) from a Non-Converter Seller or Indirectly (Second Level) from
          Another Entity that Purchased from a Non-Converter Seller.
       Public and private entities providing drinking water and sewer services generally purchase

PVC Pipe in one of two different ways4: (1) as first-level purchases directly from non-converter

sellers (i.e., distributors like Core & Main, Ferguson, and Fortiline) or (2) as second-level

purchases from another entity that purchased PVC Pipe from a non-converter seller. Figure 1 below

shows how drinking water and sewer providers purchase PVC Pipe.




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     There may be a third way by which larger private and public drinking water and sewer service
providers purchase PVC Pipe. Some may purchase directly from Defendant Converters, but
discovery will be necessary to confirm whether or not that is the case.


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                        Figure 1: Drinking Water and Sewer Service Provider
                                  Methods of Purchasing PVC Pipe




       Similarly, if one looks at the entire PVC Pipe market, including retail home improvement

stores, the existence of the two levels of purchases from non-converter sellers is similarly apparent,

as shown below in Figure 2.

                          Figure 2: Structure of PVC Pipe Market Purchases




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         Figures 1 and 2 demonstrate that the PVC Pipe market includes some purchases from non-

converter sellers that are end purchases as well as other purchases from non-converter sellers where

the PVC Pipe is subsequently resold to a city or county or to a home or business owner.

         II.     NOTICE OF RELATED ACTION

         Similar to the actions consolidated in In re PVC Pipe Antitrust Litigation, the Fegan Scott

Complaint is a putative class action alleging price fixing of PVC pipe, and it contains similar

questions of fact and law that are common and premised on the same core issues. Like the instant

action, the Fegan Scott Complaint alleges violations of both federal and state antitrust laws based

on a price-fixing scheme involving the same group of Defendants (except three of the five

members of the Mitsubishi/Shin-Etsu Defendant group). Pursuant to this Court’s Order, the Fegan

Scott action should therefore be automatically reassigned to and consolidated with the above-

captioned action. See Amended Case Management Order (ECF No. 165), at ¶ 11 (“Additional

related cases, including those designated by a plaintiff through filing a Notice of Related Action

or so indicating through an entry on the civil cover sheet, shall be reassigned to and consolidated

with the above-captioned action.”).5 As noted above, both Fegan Scott and Defendants consent to

this reassignment.

         III.    FEGAN SCOTT’S REQUEST TO DIVIDE PLAINTIFFS INTO FURTHER
                 SUB-GROUPS AT THIS TIME IS UNWARRANTED AND INEFFICIENT.
         Fegan Scott’s erroneous argument regarding conflict boils down to this: there is a conflict

in representing both first-level and second-level purchasers because the first-level purchaser would

have an incentive to show 100% pass through for their upstream purchase, and so would the

second-level purchaser for their upstream purchase from the first-level purchaser. Therefore, Fegan




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       The Erie County Civil Cover Sheet indicated that action is related to this one.


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Scott argues, because the first-level purchaser does not want Defendants to argue they passed their

full overcharge down to the second-level purchaser, there is a conflict between the first-level and

second-level purchasers because they want to show a different level of pass through between the

first-level and second-level purchase. Fegan Scott contends that this purported (and hypothetical)

conflict precludes Co-Lead Class Counsel from representing the public and private drinking water

and sewer service providers in the NCPS Class, as it erroneously presumes private and public

drinking water and sewer providers are all indirect, second-level purchasers. Moreover, Fegan

Scott asserts that this purported (hypothetical) conflict will be resolved if the Court appoints Fegan

Scott to represent all public and private drinking water and sewer service providers in this action

for all of their purchases of PVC Pipe.

       Co-Lead Class Counsel take seriously their obligations under the ethical rules to avoid

conflicts of interest. See ABA Model Rules of Professional Conduct Rule 1.7 (adopted by Local

Rule 83.50). But, as explained in greater detail below, no such conflicts exist at this time.

       Indeed, Fegan Scott’s conflict argument and proposed “solution” to the purported conflict

issue fails for at least three reasons. First, the purported conflict is hypothetical and need not be

addressed at this time. Second, the proposal does not actually resolve the purported conflict but

merely creates a new one that Fegan Scott would suffer from as well. Third, this proposal is

inefficient and costly for the NCPS Class, the parties, and the Court.

       A. Any Purported Conflict in the NCSP Class Is Hypothetical and, If It Becomes
          Necessary, Can Be Addressed Later in the Litigation.
       The purported conflict Fegan Scott identifies is hypothetical because it depends, in part, on

whether the NCPS Class’s claims sound as direct or indirect claims. See NCSP Class Complaint

¶¶ 264, 281. The Court will ultimately make this determination based on the distributors’

involvement in the alleged conspiracy after the close of discovery. Instead of waiting for the Court



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to make its ruling about the role of distributors, Fegan Scott improperly presupposes that the NCPS

Class’s claims sound exclusively as indirect claims. In the hypothetical situation in which the

NCPS Class’s claims sound exclusively as indirect claims, Fegan Scott suggests that there is a

conflict in representing both first-level and second-level purchasers because both types of

purchasers would have an incentive to show 100% pass through. However, the likelihood of this

hypothetical conflict manifesting is minimized to the extent that the Court determine that some or

all of the NCPS Class’s claims sound as direct claims.

       A key fact meriting not splitting up the NCPS Class is that Plaintiffs’ complaint alleges that

the three major PVC Pipe distributors—Core & Main, Ferguson, and Fortiline—are co-

conspirators in the price-fixing of PVC Pipe. See NCPS Class Complaint, ¶¶ 165-176, 264. Under

the Supreme Court’s decision in Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977), if Plaintiffs

succeed in proving the distributors are co-conspirators in the Defendant Converters’ price-fixing

conspiracy, then the first-level non-converter purchaser claims as to the distributors would become

direct purchases, and there would be no pass-on defense available to Defendants for sales from the

first-level to second-level Non-Converter Purchasers. See also Marion Diagnostic Ctr., LLC v.

Becton Dickinson & Co., 29 F.4th 337, 342 (7th Cir. 2022) (recognizing “a conspiracy ‘exception’

to Illinois Brick, in which plaintiffs who purchase from one member of an antitrust conspiracy may

bring suit against any member of the conspiracy”). If the first-level purchaser is a direct purchaser,

then there is no need for them to show pass-on, and the second-level purchaser is not in conflict

with the first-level purchaser. Therefore, at this time, prior to discovery into the role of PVC Pipe

distributor co-conspirators in the conspiracy, it is speculative for Fegan Scott to suggest a conflict

about pass-on would exist between first and second level non-converter purchasers.




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       A number of courts have considered the question of establishing a single class of diverse

indirect purchasers and concluded that that the same counsel can represent resellers and end user

indirect purchasers. See, e.g., In re Parking Heaters, 310 F.R.D. 54, 58-59 (E.D.N.Y. 2015)

(concluding there was no conflict if one counsel represented resellers and end user indirect

purchasers); In re Capacitors Antitrust Litig., No. 3:14-cv-03264-JD, ECF No. 319 (N.D. Cal.

2014) (appointing single law firm as lead counsel for all indirect purchasers, including both

resellers and end purchasers) (Clark Decl., Ex. A).6

       Where a potential conflict could arise later in a case, the Court may decide to later appoint

separate allocation counsel for the reseller and end purchasers upon a successful trial verdict or

upon a settlement being reached. For instance, in In re DRAM Antitrust Litig., MDL No. 1486,

ECF No. 2132 (N.D. Cal. Jan. 8, 2013), the Court appointed a single leadership structure for a

class of all indirect purchasers of DRAM, a type of computer memory. Subsequently, upon

obtaining the first settlement in the class for all indirect purchasers, a process was set up to appoint

allocation counsel for the resellers. Id. at 2-3. Each group obtained separate experts to analyze

pass-through, and a Special Master ultimately held that a “plan of allocation and distribution was

the result of arm’s length negotiations between counsel representing the interests of resellers and

end-buyers.” Id. at 14; see also In re Capacitors Antitrust Litig., No. 3:14-cv-03264-JD, ECF No.

319, at 2 (N.D. Cal. 2014) (noting that if “based on hard evidence, a conflict arise[s] on recovery

issues between various indirect purchasers, the issues can be raised to the court at that time”).




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      Where a firm not selected to interim class leadership chooses not to join the effort to litigate
on behalf of the class, but instead creates a “false distinction” about distinct parts of the class,
courts have denied such motions, finding that such an attempt “needlessly complicates [the]
litigation and leads to an inefficient prosecution of [the] action.” In re: Disposable Contact Lenses
Antitrust Litig., 15-md-2626, ECF No. 242 (M.D. Fla. June 6, 2016) (Clark Decl., Ex. B).


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        As noted above, Fegan Scott points to the Broilers litigation as a circumstance where a

court has found that a potential conflict merited splitting a class into two parts. In that case, certain

counsel (including Ms. Fegan, at her former firm) claimed that restaurant purchasers and consumer

grocery store purchasers had a conflict, and therefore separate counsel needed to be appointed for

each class. The court ultimately appointed separate restaurant class counsel (called Commercial &

Institutional Indirect Purchaser Plaintiffs) and separate consumer grocery store class counsel

(called Consumer Indirect Purchaser Plaintiffs). The situation in Broilers, however, is

distinguishable from the current situation, as explained above, because the non-converter seller

distributors in this case are alleged to have taken part in the conspiracy (thus claims by first-level

purchasers from non-converter sellers may sound as direct claims, and hence pass-through from

non-converter sellers will not be a defense for Defendants). No analogous market reality existed

in the Broilers case. Further, in Broilers the original indirect class never included any consumers

as named class representatives but focused only on commercial/restaurant purchasers of chicken.

In this case, to the contrary, the NCSP Class Complaint includes both the City of Omaha and Water

District No. 1 of Johnson County (Kansas), so there is no issue that it was not contemplated that

the Class included such entities.

        In sum, the speculative, hypothetical conflict that Fegan Scott raises does not merit further

subdivision of classes. Should a conflict arise once discovery is underway and further information

is known, then Co-Lead Counsel will raise that issue with the Court, including proposing that

allocation counsel be separately appointed for second-level purchasers from non-converter sellers.

        B. Fegan Scott’s Proposed Solution Perpetuates the Hypothetical Conflict that It
           Seeks to Resolve.
        Fegan Scott’s proposed solution does nothing to solve the hypothetical conflict it seeks to

resolve. The entities Fegan Scott seeks to represent are identified in Figure 3, below, with blue



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dotted lines. As is readily apparent, Fegan Scott has carved these entities out from two different

levels of the PVC Pipe purchaser supply chain and thus has not fixed any potential conflict. Indeed,

as noted above, Ms. Fegan admitted that this grouping of entities arises out of an EPA definition,

not from any sort of market analysis relevant to an antitrust case or specific to the PVC Pipe

market.

         As Figure 3 demonstrates, one of the class members that the Fegan Scott Complaint

purports to represent could have, hypothetically, paid another class member for price-fixed PVC

Pipe. This is exactly the hypothetical conflict Fegan Scott claims to have identified with the NCPS

Class.

                      Figure 3: Fegan Scott’s proposed class composition




As Figure 3 plainly depicts, even if the Court were to determine that the purported conflict

identified by Fegan Scott could exist, Fegan Scott’s proposed solution fails to solve the

hypothetical problem. Instead, all that the purported solution does is cobble together purchasers at

different levels of the chain of commerce for no valid reason.



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       C. Fegan Scott’s Proposal Is Inefficient and Will Be Costly to the Class.
       Fegan Scott’s self-serving proposal would require an incredible amount of duplicative work

that will be costly to the class. Most obviously, the Fegan Scott proposal would require a

completely separate class certification track and would come with the attendant costly expert

analysis involved in class certification. Further, the creation of the proposed (and unnecessary)

class that Fegan Scott wants to represent will result in increased costs and decreased efficiencies

throughout the litigation. There would be an additional complaint that will be moved against by

Defendants at both the motion to dismiss and summary judgment stages. And through discovery,

not only will there be additional work caused by this unnecessary class, but there will be additional

counsel participating in every phase. Such unnecessary duplication of efforts would dilute the

potential recovery to all non-converter seller purchasers for little reason and less benefit.

       Moreover, as mentioned above, private and public drinking water and sewer service

providers make first- and second-level purchases of PVC Pipe. However, without the benefit of

discovery, it is unclear how much PVC Pipe these entities purchase at each level. Therefore, at this

point in the litigation, it is more efficient and cost-effective for private and public drinking water

and sewer service providers to be a part of the NCPS Class to litigate their claims.

       Far more efficient, should it be necessary, would be for allocation counsel, appointed after

a settlement or trial verdict is reached, to retain an expert to analyze the overcharge for second-

level purchasers. This would avoid the need to file separate class certification reports, have

multiple sets of counsel attend dozens of depositions separately, and otherwise generate millions

of dollars in costs for the NCPS Class that could otherwise be avoided.

       In sum, Fegan Scott’s argument to divide the NCPS Class into sub-groups is meritless. Co-

Lead Counsel are able to represent the interests of all purchasers through non-converter sellers,

including both first and second-level purchasers. There is no efficiency created by dividing


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plaintiffs further into sub-groups based on a self-serving hypothetical conflict, adding a brand new

firm to this litigation, and slowing down the progress of the litigation.

       IV.     IN THE ALTERNATIVE, IF THE COURT CONCLUDES IT NEEDS TO
               ADDRESS THE ISSUE RAISED BY FEGAN SCOTT NOW, THEN THE
               PROPER REMEDY IS APPOINTING COUNSEL FOR A CLASS OF
               SECOND-LEVEL PURCHASERS THROUGH A NON-CONVERTER
               SELLER.
       For all the reasons noted above, Co-Lead Counsel do not agree that there is a conflict that

needs to be addressed at this time. Nevertheless, if the Court determines otherwise, the solution

presented by Fegan Scott of creating a private and public drinking water and sewer class makes

little sense, as explained above and depicted in Figures 1-3. Instead, the logical solution is to

appoint separate counsel for a class of second-level purchases through a non-converter seller.

       That said, we respectfully submit that should the Court determine that that separate counsel

should be appointed for a class of second-level purchases through a non-converter seller, the Court

should invite any counsel who is interested in that role to apply for the position. Many talented

antitrust attorneys have been engaged in this litigation since the summer. These attorneys have

supported and assisted Co-Lead Counsel in prosecuting this action to date, long before news of a

Department of Justice criminal grand jury inquiry came to light.

                                          CONCLUSION

       For all the reasons discussed above, the Court should reject Fegan Scott’s attempt to split

up the NCPS Class, as doing so is unnecessary for a hypothetical conflict at this time, is inefficient,

and will slow down the progress this case has already made. Accordingly, Plaintiffs ask the Court

to (1) order that the Fegan Scott Complaint is related to the NCSP Class Complaint and (2) enforce

its leadership and orders to deny Fegan Scott’s request to carve out a new class from certain

portions of the Non-Converter Seller Purchaser Class.




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Dated: November 14, 2024                       Respectfully submitted,

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